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(INTERLOCUTO Rv) ~k APR 2. 8 2017 ~A'

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LONG lSLAND OFF|CE
UN|TED STATES DlSTRlCT COURT

 

 

 

FOR THE
Eastern New York
-against-
NEW YORK COLLEGE OF OSTEOPA=?|'HIC
MEDICINE OF NEW YORK INSTITU’TE OF
TECHNOLOGY ("NYCOM-NYIT" or=NYCOM"); N T| E PEA|_
NATIONAL BOARD OF OSTEOPATl,-AIC
MEDICAL ExAMINERs ("NBOME"); and 14 CV 4020 (AKT)
NORTH SHORE LONG ISLAND]EWTSH
PLAINvIEW HosPITAL ("Ns-LIJ"). * pocket NO_
Notice is hereby given that A]AY BAHL
(parfy)

herebyappeals to the United States Court of Appeals for the Second Circuit from the decision

(describe it) Defendants Motion to dismiss or transfer
venue to Indiana pursuant to 1404(3)

entered in this action on the 33 51 day of MAR(~H , 20 17 .

Signature / /

AjAY BAH L

Printed Name

 

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Address

ALBERTSON, NY 11507

 

 

{5161 698 3977
Telephone No. (With area code)

Date: Apri| 28, 2017

 

